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Form CGFCRD3 (12/1/15)

                               United States Bankruptcy Court
                                      Southern District of Florida
                                        www.flsb.uscourts.gov
                                                                                Case Number: 18−15891−LMI
                                                                                Chapter: 7

In re:
Maurice Symonette
14100 NW 14 AVE
Miami, FL 33167

SSN: xxx−xx−9067




                                       NOTICE OF HEARING


NOTICE IS HEREBY GIVEN that a hearing will be held on June 6, 2018 at 09:30 AM at the following
location:

C. Clyde Atkins U.S. Courthouse
301 North Miami Avenue
Courtroom 8
Miami FL 33128

to consider the following:

Emergency Motion For Violation of Bankruptcy Filed by Debtor Maurice Symonette (9)


THIS MATTER HAS BEEN SET ON THE COURT'S MOTION CALENDAR FOR A NON−EVIDENTIARY
HEARING. THE ALLOTTED TIME FOR THIS MATTER IS TEN MINUTES.

THE MOVANT (OR MOVANT'S COUNSEL if represented by an attorney) SHALL SERVE A COPY OF
THIS NOTICE OF HEARING and, unless previously served, the above−described pleading on all required
parties within the time frames required by the Bankruptcy Rules, Local Rules, or orders of the Court, and
shall file a certificate of service as required under Local Rules 2002−1(F) and 9073−1(B). Any party who
fails to properly serve any pleadings or other paper may be denied the opportunity to be heard thereon.

PLEASE NOTE: Photo identification is required to gain entrance to all federal courthouse facilities.
Electronic devices, including but not limited to cameras, cellular phones (including those with cameras),
iPads, tablets, pagers, personal data assistants (PDA), laptop computers, radios, tape−recorders, etc., are
not permitted in the courtroom, chambers or other environs of this court. These restrictions (except for
cameras not integrated into a cell phone device) do not apply to attorneys with a valid Florida Bar
identification card, attorneys who have been authorized to appear by pro hac vice order and witnesses
subpoenaed to appear in a specific case. No one is permitted to bring a camera or other prohibited
electronic device into a federal courthouse facility except with a written order signed by a judge
and verified by the United States Marshal's Service. See Local Rule 5072−2.

Dated: 5/21/18                                        CLERK OF COURT
                                                      By: Noemi Sanabria
                                                      Courtroom Deputy
